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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 03-20833-CIV-GOLD

OMAR RODRIGUEZ SALUDES and
OLIVIA SALUDES,

Plaintiffs,
v.

REPUBLICA DE CUBA, a sovereign nation, FIDEL
CASTRO RUZ, individually and as President of the
Council of State and Council of Ministers, RAUL
CASTRO RUZ, individually and as Minister of the
Revolutionary Armed Forces,
ABELARDOCOLOME MARRA, individually and
as Minister of the Interior, ROBERTO T. DIAZ
SOTOLONGO, individually and as Minister of
Justice, FELIPE RAMON PEREZ ROQUE,
individually and as Minister of

Foreign Relations, and PARTIDO COMMUNISTA
DE CUBA, an agency or instrumentality of the
Republica de Cuba,

Defendants.

 

AFFIDAVIT OF OLIVIA SALUDES
Olivia Saludes, being duly sworn, deposes and says:

1. I, Olivia Saludes, am a United States national and maintain my primary residence
in Miami, Florida. I am in the process of becoming a citizen of the United States. I give this
affidavit upon personal knowledge: .

2. I am the mother of Omar Rodriguez Saludes (“Omar’’).

3. . I was bom on December 21, 1943 in La Havana, Cuba. Although J am originally
a citizen of Cuba, I have filed an application for United States citizenship. I am a political

refugee who came to the United States by airplane on June 28, 2000. Although I was never

 
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imprisoned during the time IJ lived in Cuba, because of the dissident activities of myself, my
brother Miguel Saludes, and my son Omar, I was frequently harassed and my actions closely
monitored by the Castro regime.

4. Omar still resides in Cuba. He has been deprived of his freedom by the Castro
regime. Omar reported for the Nueva Prensa Agency, which is one of approximately
twenty-one small government independent agencies in Cuba. Omar authored numerous articles
and was detained on a number of occasions because of his journalistic activities,

5. On or about April 2, 2003, Omar was arrested in his home and sequestered by
police officials who tock him into custody. No explanation was given or even a judicial pretext
was offered for the arrest. Omar was not shown any documentation or specific charges. The
length of the detention was not specified, nor was the place of incarceration identified.

6. Omar was subsequently tried on April, 2003, in a Cuban popular court. After this
‘sham trial, and also on April 22, 2003, Omar was sentenced to 27 years in prison at Kilo 8 prison
in Camaguey. At no point during the trial was Omar provided access to legal counsel as required
by international law, including, but not limited to, Article 14(3)(d) of the International Covenant
on Civil and Political Rights, Article 8(20(d0 and (e) of the American Convention on Human
Rights, and Article 6(3)(c) of the European Convention on Human Rights.

7. Omar has been transferred to several other prisons around Cuba since being
sentenced in April 2003. He currently is incarcerated at a maximum security prison in Toledo
prison in La Havana. Omar has been tortured and mistreated throughout the period of his
incarceration. Among other things he has been beaten, starved, given poor food, placed in
solitary confinement, and deprived of medical treatment. Significantly, Omar suffers from a

liver condition requiring special medical treatment. Cuba has failed to provide even the most

 
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basic medical attention in response to Omar’s medical status. Conditions at each of the prisons
in which Omar has been incarcerated are deplorable. The prisoners are forced to live amidst rats
and other scavengers such as swarms of mosquitoes and other insects.

8. Omar has been limited in the amounts of visits that he may receive from his wife,
children and other relatives because, in part, their home is several hundred miles from the prison.

9. Although it is difficult for her, Omar’s wife, Ileana Marrero, has been able to visit
Omar on a few occasions since he was incarcerated. During these visits, which occur
approximately once every three months, she has learned that her husband’s medical condition
has been aggravated and it has not been treated properly.

10. —_I first learned of Omar’s arrest by telephone, through my brother, Miguel Saludes,
a few days after it occurred. Although Omar had been previously harassed by the Castro regime,
I was extremely surprised by his arrest and that of the other journalist. I was subsequently
shocked to learn that he had been sentenced to 27 years in prison.

11. I bave not been able to speak to Omar since his arrest. The Castro regime,
through the Office of Cuban Interest in Washington, D.C., has repeatedly and unjustifiably
negated my visa application to travel to Cuba for purposes of visiting my son. I have been told
that the Cuban regime has engaged in this cruel and inhumane conduct to further punish Omar
and me.

12. Ihave been deprived of access to my son, and of participation in the proceedings
brought against him. Cuba has not provided me even the most rudimentary information about
my son, and I have been forced to obtain whatever information I have from third-parties.

13. To date, I allow little inure than that the government has arrested my son. The

illegal actions that the Cuban regime has undertaken have caused me emotional pain and

 
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suffering. This pain and suffering is that of a mother who knows that her son, without cause
or provocation, has been arrested, incarcerated, physically and mentally tortured, and unassisted
by a repressive and punitive military dictatorship that is unconstrained by international or
national law.

14, The distress related to Omar’s incarceration has also caused me physical pain and
suffering. Since Omar’s arrest, I have developed diabetes and a pulmonary condition. I was
compelled to resign my job, and not been able to work since then. I have lost my Medicare

benefits. Finally, I have been compelled to live from my family’s assistance.

15. Ihave owed permanent allegiance to the United States of America since 2000. I
submitted an application for citizenship as soon the statutory period required to becoming a
United States national was fulfilled. A copy of the submission of my application for citizenship

is here attached as Exhibit “A”.

FURTHER AFFIANT SAYETH NAUGHT.

YO

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The foregoing instrument-was acknowledged before me this 19 day of October, 2007, by
Olivia Saludes, who is personally kno) to me or has produced
as identification

Notary Public, State of Florida

 

 

(Print Name)
(Notary Number, if any)
y Paula Oates

* My Commission DD285747
‘oF ed Expires January 28, 2008

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* Sender: Please print your name, address, and ZIP+4 in this box *
Olivia SALUDES

73 TAMIAMI CANAL Rd
33144 mia FL

 

 

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